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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

AIR FORCE OFFICER                                        :
                               Plaintiff                 :     Case No.: 22-cv-1267 BAH
v.                                                       :
                                                         :
LLOYD J. AUSTIN, III, in his                             :
official capacity as Secretary of Defense;               :
FRANK KENDALL, III, in his                               :
official capacity as Secretary of the Air Force;         :
ROBERT I. MILLER, in his                                 :
official capacity as Surgeon General of the              :
Air Force, and                                           :
RUDOLF WILHELM KUEHNE, JR.                               :
in his official capacity as Commander,                   :
Air Force Flight Standards Agency                        :
                                                         :
                               Defendants                :


         PLAINTIFF’S MOTION FOR LEAVE TO PROCEED ANONYMOUSLY


       COMES NOW, the Plaintiff, an active duty United States Air Force Officer, and

respectfully requests that this Honorable Court permit the plaintiff to proceed anonymously,

using the pseudonym “Air Force Officer” in the caption and “Plaintiff Officer” in the body in all

filings in this matter, for the following reasons.

       1. The Plaintiff is an active-duty Officer in the United States Air Force. Plaintiff Officer

desires to not disclose their name publicly; Plaintiff Officer has a substantial privacy right that

can only be preserved by proceeding anonymously. Plaintiff’s identity will be disclosed to the

defendants.

       2. Plaintiff incorporates herein the Memorandum of Law in Support Plaintiff’s Motion

for Leave to Proceed Anonymously.




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      WHEREFORE, Plaintiff requests that the Court grant Plaintiff Officer leave to proceed

anonymously.



                                                 Respectfully submitted,

                                                    /s/_______________________
DATE: May 4, 2022                                Jeremy H. Gonzalez Ibrahim
                                                 (PA Bar No: PA53019)
                                                 Of Counsel, Poblete Tamargo, LLC
                                                 510 King Street, Suite 340
                                                 Alexandria, VA 20036
                                                 jibrahim@pobletetamargo.com
                                                 703−566−3037

                                                   /s/_______________________
                                                 Jason I. Poblete
                                                 (DC Bar No.: 50414)
                                                 Global Liberty Alliance
                                                 510 King Street, Suite 340
                                                 Alexandria, VA 20036
                                                 jpoblete@globallibertyalliance.org
                                                 703−566−3037

                                                   /s/________________________
                                                 Mauricio Tamargo (DC Bar No.: 469839)
                                                 pending admission D.D.C.
                                                 Global Liberty Alliance
                                                 510 King Street, Suite 340
                                                 Alexandria, VA 20036
                                                 mtamargo@globallibertyalliance.org
                                                 703−566−3037




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